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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


 HEAD KANDY, LLC,

        Plaintiff/Counterclaim Defendant,

 v.                                                              CASE NO. 23-CV-60345-JB/JMS

 KAYLA MARIE MCNEILL,
        Defendant/Counterclaimant/Third-Party Claimant,
 v.
 JEROME FALIC and JONATHAN ROSENBAUM,
        Third-Party Defendants.
                                                             /

            MOTION FOR APPROVAL TO DEPOSIT FUNDS INTO COURT REGISTRY

       Defendant/Counterclaimant/Third-Party Claimant Kayla McNeill (“Ms. McNeill”), by and

 through her undersigned counsel, respectfully moves the Court, pursuant to Fed. R. Civ. P. 67, for

 entry of an Order authorizing Ms. McNeill to deposit funds into the Court’s Registry, and states

 as follows:

        1.      On November 7, 2023, the Court entered its Order Adopting Report and

 Recommendation, Granting Plaintiff’s Expedited Motion for Preliminary Injunction, and Setting

 Bond [ECF No. 152], which, among other things, imposed a Preliminary Injunction upon Ms.

 McNeill.

        2.      On June 3, 2024, Ms. McNeill posted a Facebook live video to her personal

 Facebook account (the “Live Video”).

        3.      On June 4, 2024, Plaintiff/Counterclaim Defendant Head Kandy, LLC (“HK”) filed

 an Expedited Motion to Enforce the Preliminary Injunction, for an Order to Show Cause, and for

 Civil Contempt Sanctions (the “Sanctions Motion”) [ECF No. 266].
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        4.      HK’s counsel did not attempt to confer with the undersigned when they learned of

 the activity that is the subject of the Sanctions Motion or during the 30-hour period between the

 activity taking place and the filing of the Sanctions Motion.

        5.      On June 5, 2024, Ms. McNeill removed the entire Live Video.

        6.      Also on June 5, 2024, counsel for Ms. McNeill contacted Plaintiff’s attorneys to

 resolve the Sanctions Motion and obviate the need for further Court involvement concerning the

 Preliminary Injunction. See Email string last sent June 6, 2024 by Ethan J. Loeb, Esq. at 2, attached

 hereto as Exhibit A.

        7.      Ms. McNeill requested the amount of attorneys’ fees incurred by HK at that time

 related to the Sanctions Motion so she could remit payment to HK. Id.

        8.      HK refused to provide the requested information or accept the funds. Id.

        9.      Previously, on April 17, 2024, HK filed billing records associated with prosecuting

 a motion related to enforcement of the Preliminary Junction involving more complex issues than

 the Sanctions Motion (the “Billing Records”). [ECF Nos. 233, 233-1, 233-2].

        10.     Pursuant to the Billing Records, reasonable attorneys’ fees for drafting the

 Sanctions Motion should not exceed $4,500. See Exhibit A to Affidavit of Ethan Loeb at 1 [ECF

 No. 233-2].

        11.     Consequently, Ms. McNeill seeks, through this Motion, approval from the Court to

 deposit $4,500 into the Registry of the Court to satisfy any and all damages necessarily incurred

 by HK related to the Sanctions Motion and guarantee payment of any monetary sanctions the Court

 may impose against Ms. McNeill related to the Sanctions Motion.

        12.     Rule 67, Fed. R. Civ. P., provides, in relevant part: “If any part of the relief sought

 is . . . the disposition of a sum of money . . . a party–on notice to every other party and by leave of




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 court–may deposit with the court all or part of the money . . . whether or not that party claims any

 of it.” F.R.C.P. 67(a).

        WHEREFORE, Ms. McNeill respectfully requests an order from the Honorable Court

 authorizing Ms. McNeill to deposit the sum of $4,500 into the Registry of the Court as a guarantee

 of payment of reasonable attorney expenses to HK for any and all necessary work performed

 related to the Sanctions Motion, and for such additional relief the Court deems just and proper.

 DATED this 20th day of June, 2024.

                                               Respectfully Submitted,


                                               By: /s/ Laura E. Burgess
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                                               AND



                                               By: /s/ Antonio L. Converse
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                                               AND




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                                                By: /s/ Jennifer A. Tiedeken
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                                                Counsel for Kayla McNeill




               CERTIFICATE COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

        Pursuant to Local Rule 7.1(a)(3), undersigned counsel certifies that counsel for Ms.

 McNeill conferred with Plaintiff’s attorneys on June 5, 2024 concerning the payment of funds and

 was rebuffed. Additionally, on June 20, 2024, Ms. McNeill’s counsel attempted to confer with

 Plaintiff’s attorneys on payment of the funds into the Court’s Registry, but did not receive a

 response. It is anticipated that Plaintiff will oppose the requested relief.


                                                                 /s/ Laura E. Burgess



                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 20, 2024, I electronically filed the foregoing document with

 the Clerk of the Court using CM/ECF and through that filing served all counsel of record.



                                                                By: /s/ Laura E. Burgess
                                                                Laura E. Burgess, Esq.




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